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7
                                         UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                          )       Case No.:   2:15-CR-00118-GEB
10                                                      )

11                                  Plaintiff,
                                                        )       STIPULATION AND ORDER FOR
                                                        )       RELEASE OF SURETY
             vs.                                        )
12                                                      )
     EARSHELL HAYES,                                    )       DATE: May 23, 2016
13                                                      )       JUDGE: Hon. Carolyn K. Delaney
     LEON CURRIE FIELDS, JR., AND
                                                        )
14   DAVID WILLIAM DIXON,                               )
                                                        )
15                                  Defendant(s).
16
             Plaintiff, United States of America, through Assistant U.S. Attorney Paul Hemesath; and
17
     defendant David William Dixon, through counsel, Gregory W. Foster, hereby stipulate and agree as
18

19
     follows:

20                                                  STIPULATION
21           1. By previous order, the defendant was released from custody on or about June 2, 2015 on an
22   unsecured appearance bond. His wife Samantha Dixon signed the bond as surety. (Doc. 9.) The
23   defendant has been subject to supervision by Pretrial Services since his release from custody.
24           2. Subsequent to the initiation of this case, the defendant was also prosecuted in the Superior
25   Court of the State of California, San Joaquin County. The defendant entered a plea on that case and
26   was recently sentenced on May 18, 2016 to a term of four years in the California state prison. He is
27   currently in custody pending delivery to the state prison.
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             3. In light of the change in his custody status, his wife, Samantha Dixon, contacted Pretrial
2
     Services and asked that she be removed as a surety to the appearance bond.
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             4. The government and Pretrial Services have no objections to this request.
4
             5. Pretrial Services will continue to verify Mr. Dixon’s custody status on the state case. Upon
5
     his release, all previous imposed pretrial release conditions will be enforced.
6
             IT IS SO STIPULATED.
7
     DATED: May 23, 2016                                     BENJAMIN B. WAGNER
8                                                            United States Attorney
9                                                            /s/ Paul Hemesath
                                                             PAUL HEMESATH
10                                                           Assistant United States Attorney
                                                             Attorney for Plaintiff United States
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13
     DATED: May 23, 2016
14
                                                             /s/ Gregory W. Foster
15
                                                             GREGORY W. FOSTER
                                                             Attorney for Defendant David Dixon
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17

18                                                ORDER

19

20           BASED ON THE STIPULATION OF THE PARTIES, and good cause appearing therefor, it
21   is hereby ordered that Samantha Dixon shall be released from her prior agreement to serve as a surety
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     to the unsecured appearance bond dated June 2, 2015 and she shall be discharged from any and all
23
     duties and obligations associated therewith, and further that the defendant shall no longer be
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     supervised by Pretrial Services, unless upon further order of the court.
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26   Dated: July 8, 2016

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